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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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Piaimiff,
v. N@. 02-20384 B
CHEvls PARKs,

Defendant.

0RDER FoR TRANSCRIPT

 

On May 6, 2003, a change of plea hearing Was held in the above-styledmatter. lt is necessary

to have a transcript of the proceedings in order for the Court to properly rule on the motion of Chevis

Parks to vacate or set aside the sentence imposed in the captioned case, Which is currently pending

in civil action No. 04-3064.

It is therefore ORDERED that a transcript of the change of plea hearing be prepared by the

court reporter, Mark Dodson. The Clerk of Court is directed to forward a copy of this order to the

offices of the court reporter.

ENTERED this _C\day of June, ,%

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Dli`ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:02-CR-20384 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

